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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV
313 Arch St., Unit 209
Philadelphia, PA 1 9130

Plaintiff, :
v. : No.: lS-cv-4282
CUSHMAN & WAKEFIELD OF : JURY TRIAL OF TWELVE (12)
PENNSYLVANIA, INC. : JURORS DEMANDED

One Liberty Place
1650 Market Street, 33rd Floor
Philadelphia, PA l 9103

Defendant.

 

THIRD Al\/IENDED COMPLAINTl
I. JURISI)ICTION & VENUE
1. Jurisdiction in this Honorable Court is based on a violation of the United States
Constitution, Amendment I, and federal law actionable through 42 U.S.C. §1983, et seq., as

conferred by 28 U.S.C. § 1331.

 

l This action was initiated in Philadelphia Court of Common Pleas in December 2017 by way of Writ of
Summons. After extensive pleadings, Plaintiff filed her Second Amended Complaint on September 13_, 2018, which
Defendants removed to this Honorable Court. Plaintiff’s Undersigned Counsel, out of an abundance of caution,
notes that, pursuant to Rule 15, this Complaint is the,t'lrst time Plaintiff has amended her Complaint since this matter
was removed to this Honorable Court.

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2. Venue is proper in the in this District as occurrences that give rise to the cause of action
took place within this District.

II. PARTIES

3. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein.

4. Plaintiff, Andrea Pesacov, is an adult individual, residing at the above captioned address.
At all times material hereto, Pesacov, was employed by Defendant as the Senior Director of
Cushman & Wakefield’s Retail Services for the Philadelphia /N.E. Region. Plaintiff, Pesacov
worked for Defendant for about 3.5 years, from approximately April 2014 until approximately
September 2017.

5. Defendant, Cushman & Wakefleld of Pennsylvania, lnc. (“C&W”) is a commercial real
estate services company with its primary place of business at the above-captioned address. Upon
information and belief, C&W is a corporate child of Non-Party, Cushman & Wakefield, Inc.,
which is one of the largest commercial real estate services firms in the world, operating in over
seventy countries and employing approximately 45,000 employees

III. OPERATWE FACTS

6. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein.

7. Plaintiff was employed by Defendant in or around April 2014 until September 18, 2017,
when Defendant wrongfully terminated her employment

8. In or around April 2014, Defendant’s Agent, Non-Party, John Derham, who was
employed by Defendant as the Senior Managing Director, met with Plaintiff concerning
prospective employment

9. During this initial job interview, Derham made inappropriate, sexual advances on

Plaintiff In fact, Derham inappropriately placed on hand on Plaintiff s thigh three (3) times.

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10. On the third occasion, Plaintiff gave Derham a nasty look, in which Derham responded,
stating that he was a “very tactile individual”. Plaintiff replied, “not with me you’re not.”

ll. Despite this sexually charged interview, Defendant ultimately hired Plaintiff in or around
April 2014.

12. Plaintiff entered into an employment contract with Defendant in or around April 2014.
Plaintiff does not possess a copy of the employment contract, Upon information and belief,
Defendant possesses a true and accurate copy of the employment contract.

13. Pursuant to the employment contract, if Plaintiff separated from Defendant, Defendant
was contractually required to pay Plaintiff her earned commission or “brokerage splits” from all
pending contracts that Plaintiff was responsible for prior to any separation

14. Plaintiff reported Derham’s inappropriate sexual harassment of Plaintiff during the
aforementioned job interview to Defendant’s Agent, Non-Party, Matt Winn, was was employed
by Defendant as the Chief Operations Officer of the Americas.

15. Winn informed Plaintiff that Derham had a reputation of sexually harassing his female
colleagues and subordinates and that Winn expected Plaintiff to have a difficult working
relationship with Derham.

16. Upon information and belief, Winn did not take any further actions concerning Derham’s
inappropriate sexual harassment of Plaintiff.

17. Upon information and belief, Derham created a hostile work environment due to
Plaintiff s sex and Plaintiff’ s refusal to Derham’s sexual advances.

18.` n During the flrst six months of Plaintiff’s employment, Derham regularly lied and mislead
Plaintiff concerning her workplace duties. For example, Derham mislead Plaintiff concerning

potential contracts with Shops at Liberty Place, causing Plaintiff to lose significant commissions

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19. Derham also spread lies concerning Plaintiff to Plaintiff’s fellow co-workers and
subordinates Derham’s close, personal friend, Defendant’s Agent, Non-Party, Shannon Mellor,
who was employed by Defendant in the position of Operations Manager of the Philadelphia
Office also began spreading lies concerning Plaintiff at Derham’s direction.

20. Derham and Mellor also encouraged Plaintiff’s support staff to falsely claim that they
could not get along with Plaintiff in an attempt to create pre-text for Plaintiff’s termination
and/or demotion.

21. In December 2015, as Plaintiff was leaving Defendant’s 2015 holiday party, Derham,
approached her, and sexually propositioned her by saying, “What would you do right now if I got
down on my hands and knees and ate you out?”

22. Plaintiff reported Derham’s sexual harassment at the holiday party, as well as the ongoing
sex-based discrimination and hostile work environment to Defendant’s Agent, Non-Party, Gene
Spiegelman who is employed by Defendant in the position of Vice Chairman-Head of Retail
Services.

23. As a result of Plaintiff’s aforementioned internal complaint, Defendant initiated an
investigation into Derham concerning the aforementioned acts of sexual harassment7 as well as
the ongoing sex-based discrimination and hostile work environment caused by Derham.

24. Nonetheless, Derham continued to be employed by Defendant into in or around April
2017.

25. Even after Plaintiff’ s aforementioned internal complaint, Derham continued to
discriminate against Plaintiff and subject Plaintiff to a hostile work environment

26. For example, after convincing a support staff member to falsely accuse Plaintiff of being

mean to her, Derham called Plaintiff into his office and screamed at Plaintiff so loudly that the

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entire office could hear. Upon information and belief, Derham did so in order toy discredit
Plaintiff and protect himself`.

27. Derham and Mellor continued to spread lies concerning Plaintiff and created false
pretenses to discipline Plaintiff.

28. In or around March 2017, Defendant terminated Derham. However, as the results of the
internal investigation were never shared with Plaintiff, Plaintiff is unaware of the rationale or
cause for Derham’s termination

29. Nonetheless, Plaintiff believes that Defendant’s Agents harbored animosity towards
Plaintiff as a result of Plaintiff’ s aforementioned internal complaint against Derham, which is
believed to have played a part in Derham’s termination

30. ln or around March 2017, Defendant hired Defendant’s Agent, Non-Party Mike McCurdy
to be the Regional Managing Principal at the Philadelphia office.

31. ln or around May 20, 2017, Plaintiff suffered a medical emergency due to food-poisoning
while at a work-related function, resulting in multiple surgeries.

32. Plaintiff’ s medical doctors did not allow Plaintiff to return to work until on or about
September 18, 2017.

33. While in the intensive care unit, on or about May 20, 2018, Plaintiff contacted McCurdy
towards an approved medical leave, which was informally granted.

34. Plaintiff underwent three significant stomach surgeries during Summer 2017.

35. While on an approved medical leave of absence, Plaintiff visited her workplace solely in
order to meet with her assistant on August 17, 2017 - as her doctor only approved her for a one-

hour visit

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36. However, while at her workplace on August 17, 2017, Defendant’s Agents, Non-Parties,
Mike McCurdy and Stevannie Sierra demanded to meet with Plaintiff~ prior to Plaintiff" s return
from her approved medical leave of absence.

37. At all material times on August 17, 2017, Defendant’s Agents, Non-Parties, Mike
McCurdy and Stevannie Sierra knew that Plaintiff was on an approved medical leave of absence
and was not returning from her approved medical leave of absence until in or around September
1 8, 201 7.

38. At all material times on August 17, 2017, Defendant’s Agents, Non-Parties, Mike
McCurdy and Stevannie Sierra knew that Plaintiff was on an approved medical leave of absence
and was only allowed to return to work, per for doctor’s instruction, for one hour.

39. Nonetheless, Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra
interrogated Plaintiff and falsely accused Plaintiff of violating various company policies based
on reports from Derham - reports made prior to Derham’s termination

40. The interrogation lasted approximately two hours.

41. During the interrogation, Defendant’s Agent, Non-Party, Mike McCurdy communicated
to Plaintiff that it was time for Plaintiff to look for another job.

42. Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra interfered with
Plaintiff’ s approved medical leave of absence in violation of the Family Medical Leave Act.

43. During the aforementioned interrogation, Sierra admitted that she had never previously
asked Plaintiff her side of any of the alleged (and false) allegations, but instead has simply

believed Derham.

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44. ln fact, Sierra admitted - as she was a recent hire - that she was not aware of the
harrowing 2.5-year history of Derham’s subjection of Plaintiff to sexual harassment sex-based
discrimination, and hostile work environment

45. Nonetheless, at the end of the meeting, McCurdy told Plaintiff that it was time for her to
look for another job.

46. On September 18, 2017, which was Plaintiff s first day back at work following her
medical leave of absence, Plaintiff was called into the office by McCurdy and terminated
Plaintiff was not given any reason for her termination

47. Plaintiff believes and therefore avers that Plaintiff was wrongfully terminated in
retaliation for Plaintiff’ s aforementioned internal complaint combined with her medical leave of
absence.

48. Since Plaintiff’s termination, Plaintiff has received some commissions on pending
contracts

49. However, Plaintiff believes and therefore avers that Defendant has breached the
employment contract by failing to pay Plaintiff all commissions owed to Plaintiff pursuant to the
employment contract To determine the full extent of Plaintiffs financial damages, an
accounting of the commissions earned by Plaintiff on the pending contracts is required.

IV. CoUNTs oF ACTIoN

COUNT I
Violations of Title WI - Retaliation

50. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein.
51. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the
Pennsylvania Human Relations Commission (“PI-IRC”) and the U.S. Equal Employinent

Opportunity Commission (“EEOC”). See Exhibit A.

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52. In Plaintiff_`s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff’s sex (female), retaliation, wrongful
discharge, and discrimination based on P.laintiff’ s disability. See Exhibit A.

53. Although Plaintiff’s Charge of Discrimination was cross-filed with both the PHl;C and
the EEOC, upon information and belief, the PHRC deferred Plaintiff s charge to the EEOC for
investigation

54. On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the
EEOC, thereby exhausting Plaintiff’s administrative remedies under Title VII. See Exhibit B.
55. Defendant meets the definition of “employer” under Title VII.

56. Plaintiff meets the definition of an “employee” under Title VII.

57. Plaintiff made an internal report of sexual harassment, sexual discrimination and a
hostile work environment to her employer, Defendant, in or around January 2016 concerning the
ongoing conduct of Non-Party, Derham.

58. Plaintiff’s aforementioned internal report concerning the sexual harassment sexual
discrimination, and a hostile work environment caused by Non-Party, Derham constitutes an
“protected activity” under Title VII.

59. Although Defendant allegedly investigated the ongoing conduct of Non-Party, Derham,
Defendant did not terminate Non-Party, Derham until in or around April 2017 _ well over a year
after Plaintiff s internal report

60. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual

harassment and a hostile work environment based on Plaintiff’s sex (female) and Plaintiff’s prior

refusals to Non-Party, Derham’s sexual advances

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61. On or about May 20, 2017, Plaintiff qualified for and took a medical leave of absence in
order to undergo a significant stomach surgery on May 20, 2017.

62. While on the approved medical leave of absence, on or about August 17, 2017,
Defendant’s Agent, Non-Party, Mike McCurdy communicated to Plaintiff that it was time for
Plaintiff to look for another job.

63. Plaintiff completed her medical leave of absence and returned to work for Defendant on
September 18, 2017.

64. Plaintiff suffered an adverse employinth decision when Defendant terminated Plaintiff
on September 18, 2017, the very day Plaintiff returned nom her medical leave of absence.

65. Plaintiff believes and therefore avers that Defendant was significantly motivated to
terminate Plaintiff due to her aforementioned internal report of sexual harassment sexual
discrimination, and a hostile work environment

66. n Plaintiff believes and therefore avers that Defendant by and through its various agents,
harbored animosity towards Plaintiff for her internal report in which Defendant’s agents believed
caused the termination of Non-Party, Derham.

67. The temporal proximity between the protected activity, ultimately resulting in Non-Party,
Derham’s termination in or around April 2017 and the adverse action, which occurred on
September 18, 2017 are unduly suggestive - as the period during which Plaintiff Was on an
approved medical absence should be ignored when considering the temporal proximity, i.e. May
20, 2017 through September 18, 2017.

68. Plaintiff suffered financial harm as well as emotional harm as a result of Defendant’s
wrongful termination of Plaintiff in retaliation for her aforementioned internal report..

69. Defendant retaliated against Plaintiff in violation of Title VII.

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CO II
Violations of Pennsylvan ia Human Relations Act (“PHRA ”) - Retaliation

70. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

71. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the
Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employment
Opportunity Commission (“EEOC”). See Exhibit A.

72. ln Plaintiff’s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff’s sex (female), retaliation, wrongful
discharge, and discrimination based on Plaintiff’s disability. See Exhibit A.

73. Although Plaintiffs Charge of Discrimination was cross-filed with both the PHRC and
the EEOC, upon information and belief, the PHRC deferred Plaintiff’s charge to the EEO'C for
investigation

74. On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the
EEOC, thereby exhausting Plaintiff s administrative remedies under PHRA. See Exhibit B.

-75. Defendant meets the definition of “employer” under PHRA.

76. Plaintiff meets the definition of an “employee” under PHRA.

77. Plaintiff made an internal report of sexual harassment sexual discrimination, and a
hostile work environment to her employer, Defendant in or around January 2016 concerning the
ongoing conduct of Non-Party, Derham.

78. Plaintiff’s aforementioned internal report concerning the sexual harassment sexual
discrimination, and a hostile work environment caused by Non-Party, Derham constitutes an

“protected activity” under PHRA.

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79. Although Defendant allegedly investigated the ongoing conduct of Non-Party, Derham,
Defendant did not terminate Non-Party, Derham until in or around April 2017 - well over a year
after Plaintiff s internal report.

80. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual
harassment and a hostile work environment based on Plaintiff’s sex (female) and Plaintiff"s prior
refusals to Non-Party, Derham’s sexual advances

81. On or about May 20, 2017, Plaintiff qualified for and took a medical leave of absence in
order to undergo a significant stomach surgery on May 20, 2017.

82. While on the approved medical leave of absence, on or about August 17 , 2017,
Defendant’s Agent, Non-Party, l\/.[ike McCurdy communicated to Plaintiff that it was time for
Plaintiff to look for another job.

83. Plaintiff completed her medical leave of absence and returned to work for Defendant on
September 18, 2017.

84. Plaintiff suffered an adverse employment decision when Defendant terminated Plaintiff
on September 18, 2017, the very day Plaintiff returned from her medical leave of absence. l

85 . Plaintiff believes and therefore avers that Defendant was significantly motivated to
terminate Plaintiff due to her aforementioned internal report of sexual harassment sexual
discrimination, and a hostile work environment

86. Plaintiff believes and therefore avers that Defendant by and through its various agents,
harbored animosity towards Plaintiff for her internal report in which Defendant’s agents believed
caused the termination of Non-Par_ty, Derham.

87. The temporal proximity between the protected activity, ultimately resulting in Non-Party,

Derham’s termination in or around April 2017 and the adverse action, which occurred on

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September 18, 2017 are unduly suggestive - as the period during which Plaintiff was on an
approved medical absence should be ignored when considering the temporal proximity, i.e. May
20, 2017 through September 18, 2017.

88. Plaintiff suffered financial harm as Well as emotional harm as a result of Defendant’s
wrongful termination of Plaintiff in retaliation for her aforementioned internal report

89. Based on the forgoing, Defendant retaliated against Plaintiff in violation of PHRA.

M
Violations of Philadelphia F air Practices Ordinan ce (“PFPU”) - Retaliation

90. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

9l. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the
Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employinent
Opportunity Commission (“EEOC”). See Exhibit A.

92. In Plaintiff’s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff`s sex (female), retaliation, wrongful
discharge, and discrimination based on Plaintiff’s disability. See Exhibit A.

93. Although Plaintiff s Charge of Discrimination was cross-filed with both the PHRC and
the EEOC, upon information and belief, the PHRC deferred Plaintiff’s charge to the EEOC for
investigation

94. On or about'July 19, 2018, Plaintiff received a Notice of Right to Sue letter nom the
EEOC, thereby exhausting Plaintiffs administrative remedies under PFPO. See Exhibit B.

95. Defendant meets the definition of “employer” under PFPO.

96. Plaintiff meets the definition of an “employee” under PFPO.

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97. Plaintiff made an internal report of sexual harassment sexual discrimination and a
hostile work environment to her employer, Defendant, in or around January 2016 concerning the
ongoing conduct of Non-Party, Derham. .

98. Plaintiff’ s aforementioned internal report concerning the sexual harassment sexual
discrimination and a hostile Work environment caused by Non-Party, Derham constitutes an
“protected activity” under PFPO.

99. Although Defendant allegedly investigated the ongoing conduct of Non-Party, Derham,
Defendant did not terminate Non-Party, Derham until in or around April 2017 - well over a year
after Plaintiff’s internal report

100. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual
harassment and a hostile work environment based on Plaintiff’s sex (female) and Plaintiff’ s prior
refusals to Non-Party, Derham’s sexual advances

101. On or about May 20, 2017, Plaintiff qualified for and took a medical leave of absence in
order to undergo a significant stomach surgery on May 20, 2017.

102. While on the approved medical leave of absence, on or about August 17, 2017,
Defendant’s Agent, Non-Party, Mike McCurdy communicated to Plaintiff that it was time for
Plaintiff to look for another job.

103. Plaintiff completed her medical leave of absence and returned to work for Defendant on
September 18, 2017.

104. Plaintiff suffered an adverse employment decision when Defendant terminated Plaintiff

on September 18, 2017, the very day Plaintiff returned from her medical leave of absence.

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105. Plaintiff believes and therefore avers that Defendant was Significantly motivated to
terminate Plaintiff due to her aforementioned intemal report of sexual harassment sexual
discrimination and a hostile work environment

106. Plaintiff believes and therefore avers that Defendant by and through its various agents,
harbored animosity towards Plaintiff for her internal report in which Defendant’s agents believed
caused the termination of Non-Party, Derham.

107. The temporal proximity between the protected activity, ultimately resulting in Non-Party,
Derham’s termination in or around April 2017 and the adverse action which occurred on
September 18, 2017 are unduly suggestive - as the period during which Plaintiff was on an
approved medical absence should be ignored when considering the temporal proximity, i.e. May
20, 2017 through September 18, 2017 .

108. Plaintiff suffered financial harm as well as emotional harm as a result of Defendant’s
wrongful termination of Plaintiff in retaliation for her aforementioned internal report.

109. Based on the forgoing, Defendant retaliated against Plaintiff in violation of PFPO.

wm
Violations of the Family Medical Leave Act (“FMLA ”) - Retaliation

l 10. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

lll. On or about May 20, 2017, Plaintiff qualified for and took an emergency medical leave
of absence from her employer, upon information and belief, pursuant to the Family Medical
Leave Act (“FMLA”)- thereby invoking her right to FMLA-qualifying leave.

l 12. Plaintiff underwent three significant stomach surgeries during Summer 2017.

113. While on the approved medical leave of absence, on or about August 17, 2017,
Defendant’s Agent, Non-Party, Mike McCurdy communicated to Plaintiff that it was time for

Plaintiff to look for another job.

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ll4. Plaintiff completed her medical leave of absence and returned to work for Defendant on
September 18, 2017.

115. Plaintiff suffered an adverse employment decision when Defendant terminated Plaintiff
on September 18, 2017, the very day Plaintiff returned from her medical leave of absence,

116. The temporal proximity between the protected activity and the adverse action are unduly
suggestive as Plaintiff was terminated the very day Plaintiff returned from her medical leave of
absence,

117. Defendant’s termination of Plaintiff Was causally related to Plaintiff’ s invoking her right

to FMLA-qualifying leave.

COUNT V
Violations of the Family Medical Leave Act (“FMLA ”) - Violations

118. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

119. On or about May 20, 2017, Plaintiff qualified for and took an emergency medical leave
of absence from her employer, upon information and belief, pursuant to the Family Medical
Leave Act (“FMLA”)- thereby invoking her right to FMLA-qualifying leave.

120. Plaintiff underwent three significant stomach surgeries during Summer 2017.

121. While on an approved medical leave of absence, Plaintiff visited her workplace solely in
order to meet with her assistant on August 17, 2017 - as her doctor only approved her for a one-
hour vist.

122. However, while at her workplace on August 17, 2017, Defendant’s Agents, Non-Parties,
Mike McCurdy and Stevannie Sierra demanded to meet with Plaintiff- prior to Plaintiff s return
from her approved medical leave of absence.

123. At all material times on August 17, 2017, Defendant’s Agents, Non-Parties, Mike

McCurdy and Stevannie Sierra knew that Plaintiff was on an approved medical leave of absence

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and was not returning from her approved medical leave of absence until in or around September
l 8, 2017.

124. At all material times on August l7, 2017, Defendant’s Agents, Non-Parties, Mike
McCurdy and Stevannie Sierra knew that Plaintiff was only allowed to return to work, per for
doctor’s instruction for one hour.

125. Nonetheless, Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra

y interrogated Plaintiff and falsely accused Plaintiff of violating various company policies

126. The interrogation lasted approximately two hours

127 . During the interrogation Defendant’s Agent Non-Party, Mike McCurdy communicated
to Plaintiff that it was time for Plaintiff to look for another job.

128. Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra interfered with
Plaintiff’s approved medical`leave of absence in violation of the Family Medical Leave Act.
129. Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie Sierra’s interference
interfered with Plaintiff s approved medical leave of absence had a chilling affect on Plaintiff
due, in part to the hostility shown during the aforementioned interrogation

130. Any reasonable person in Plaintiff"s position would also be “chilled” from taking future
medical leave under FMLA by Defendant’s Agents, Non-Parties, Mike McCurdy and Stevannie

_Sierra’s actions

OUNT VI
Violations of Title VII - Hostile Work Environment

l3l. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein
132. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrin'iination with the
Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employment

Opportunity Commission (“EEGC”). See Exhibit A.

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133. ln Plaintiff’ s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff s sex (female), retaliation wrongful
discharge, and discrimination based on Plaintiff’s disability. See Exhibit A.

134. Although Plaintiff s Charge of Discrimination was cross-filed with both the PHRC and
the EEOC, upon information and belief, the PHRC deferred Plaintiff’s charge to the EEOC for
investigation

135. On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the
EEOC, thereby exhausting Plaintiff`s administrative remedies under Title Vll. See Exhibit B.
136. Defendant meets the definition of “employer” under Title VII.

137. Plaintiff meets the definition of an “employee” under Title VII.

138. Defendant’s Agents, Non-Parties, Derham and Mellor subjected Plaintiff to a hostile
work environment beginning in April 2014 and continuing through until Plaintiff’ s termination
on or about September 18, 2017.

139. Defendant’ s Agent Non-Party, Derham subjected Plaintiff to unwanted, inappropriate,
and`appalling sexual harassment

140. As a result of Plaintiff rej ecting Defendant’s Agent Non-Party, Derham sexual advances
Defendant’s Agents, Non-Parties, Derham and Mellor spread lies concerning Plaintiff;
encouraged Plaintiffs support staff to falsely accuse Plaintiff of inappropriate conduct; and
knowingly disciplined Plaintiff for false violations of company policies

141. Defendant’s Agent Non-Party, Derham’s aforementioned conduct was pervasive and

regular from April 2014 until his termination

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142. Defendant’s Agent Non-Party, Mellor’s aforementioned conduct was pervasive and
regular from April 2014 and continued even after Defendant’s Agent Non-Party, Derham’s
termination

143. In fact Defendant’s Agents, Non-Parties, Derham and Mellor’s false allegations were
purportedly still being investigated in August 2017, causing Plaintiff to suffer official allegations
of wrongful conduct until she was wrongfully terminated on September 18, 2017.-

144. Defendant’s Agents, Non-Parties, Derham and Mellor’s aforementioned conduct
detrimentally affected Plaintiff and would detrimentally affect any reasonable person in
Plaintiff s position l

145. Plaintiff made an internal report of sexual harassment sexual discrimination and a
hostile work environment to her employer, Defendant iri or around January 2016 concerning the
ongoing conduct of Non-Paity, Derham.

146. Although Defendant allegedly investigated the ongoing conduct of Non-Pai'ty, Derham,
Defendant did not terminate Non-Party, Derham until in or around April 2017 - well over a year
after Plaintiff"s internal report

147. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual
harassment and a hostile work environment based on Plaintiff’ s sex (female) and Plaintiff` s prior
refusals to Non-Party, Derham’s sexual advances

148. Defendant is responsible for its Agent Non-Party’s Derham’s conduct as Defendant
through its managerial agents, had knowledge of Derham’s propensity to sexually harass female
employees, as well as Defendant’s failure to take action to stop the sexual harassment and hostile

work environment following Plaintiff s internal complaint

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149. Plaintiff suffered significant harm as a result of Defendant subjecting Plaintiff to a hostile

work environment in violation of Title VIl.

CQUNT Y!I

Violations of Pennsylvan ia Human Relations Act (“PHRA ”) - Hostile Work Environment
150. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein
151. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the
Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employment
Opportunity Commission (“EEOC”). See Exhibit A.
152. In Plaintiff’ s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff s sex (female), retaliation wrongful
discharge, and discrimination based on Plaintiff" s disability. See Exhibit A.
153. Although Plaintiff’s Charge of Discrimination was cross-filed with both the PHRC and
the EEOC, upon information and belief, the PHRC deferred Plaintiff’ s charge to the EEOC for
investigation
154. On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the
EEOC, thereby exhausting Plaintiff’s administrative remedies under PHRA. See Exhibit B.
155. Defendant meets the definition of “employer” under PHRA.
156. Plaintiff meets the definition of an “employee” under PHRA.
157. Defendant’s Agents, Non-Parties, Derham and Mellor subjected Plaintiff to a hostile
work environment beginning in April 2014 and continuing through until Plaintiff s termination
on or about September 18, 2017.
158. Defendant’s Agent Non-Party, Derham subjected Plaintiff to unwanted, inappropriate,

and appalling sexual harassment

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159. As a result of Plaintiff rej ecting Defendant’s Agent Non-Party, Derham sexual advances,
Defendant’s Agents, Non-Parties, Derham and Mellor spread lies concerning Plaintiff;
encouraged Plaintiff s support staff to falsely accuse Plaintiff of inappropriate conduct and
knowingly disciplined Plaintiff for false violations of company policies

160. Defendant’s Agent, Non-Party, Derham’s aforementioned conduct was pervasive and
regular from April 2014 until his termination

l6l. Defendant’s Agent Non-Party, Mellor’s aforementioned conduct Was pervasive and
regular from April 2014 and continued even after Defendant’s Agent Non-Party, Derham’s
termination

162. In fact, Defendant’s Agents, Non-Parties, Derham and Mellor’s false allegations were
purportedly still being investigated in August 2017, causing Plaintiff to suffer official allegations
of wrongful conduct until she was wrongfully terminated on September 18, 2017.

163. Defendant’s Agents, Non-Parties, Derham and Mellor’s aforementioned conduct
detrimentally affected Plaintiff and would detrimentally affect any reasonable person in
Plaintiff s position

164. Plaintiff made an internal report of sexual harassment sexual discrimination and a
hostile work environment to her employer, Defendant in or around January 2016 concerning the
ongoing conduct of Non-Party, Derham.

165. Although Defendant allegedly investigated the ongoing conduct of Non-Party, Derham,
Defendant did not terminate Non-Paity, Derham until in or around April 2017 - well over a year

after Plaintiff" s internal report

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166. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual
harassment and a hostile work environment based on Plaintiff’s sex (female) and Plaintiff’s prior
refusals to Non-Party, Derham’s sexual advances

167. Defendant is responsible for its Agent, Non-Party’s Derham’s conduct as Defendant
through its managerial agents, had knowledge of Derham’s propensity to sexually harass female
employees, as well as Defendant’s failure to take action to stop the sexual harassment and hostile
work environment following Plaintiff’ s internal complaint

168. Plaintiff suffered significant harm as a result of Defendant subjecting Plaintiff to a hostile

work environment in violation of PHRA.

§§QQ§T \"'III
Violations of Ph iladelphia Fair Practices 0rdinance (“PFPO”) - Hostile Work Environment

169. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

170. On or about July 6, 2018, Plaintiff timely cross-filed a Charge of Discrimination with the
Pennsylvania Human Relations Commission (“PHRC”) and the U.S. Equal Employment
Opportunity Commission (“EEOC”). See Exhibit A.

l7l. ln Plaintiff’ s Charge of Discrimination, Plaintiff complained of sexual harassment a
hostile work environment discrimination based on Plaintiff s sex (female), retaliation, wrongful
discharge, and discrimination based on Plaintiff’s disability. See Exhibit A.

172. Although Plaintiff’s Charge of Discrimination was cross-filed with both the PHRC and
the EEOC, upon information and belief, the PHRC deferred Plaintiff’s charge to the EEOC for
investigation

173. On or about July 19, 2018, Plaintiff received a Notice of Right to Sue letter from the
EEOC, thereby exhausting Plaintiff’ s administrative remedies under PFPO. See Exhibit B.

174. Defendant meets the definition of “employer” under PFPO.

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175. Plaintiff meets the definition of an “employee” under PFPO.

176. Defendant’s Agents, Non-Parties, Derham and Mellor subjected Plaintiff to a hostile
work environment beginning in April 2014 and continuing through until Plaintiff s termination
on or about September 18, 2017.

177. Defendant’s Agent Non-Party, Derham subjected Plaintiff to unwanted, inappropriate,
and appalling sexual harassment

178. As a result of Plaintiff rej ecting Defendant’s Agent Non-Party, Derham sexual advances,
Defendant’s Agents, Non-Parties, Derham and Mellor spread lies concerning Plaintiff;
encouraged Plaintiff s support staff to falsely accuse Plaintiff of inappropriate conduct; and
knowingly disciplined Plaintiff for false violations of company policies

179. Defendant’s Agent Non-Party, Derham’s aforementioned conduct was pervasive and
regular from April 2014 until his termination

180. Defendant’s Agent Non-Party, Mellor’s aforementioned conduct was pervasive and
regular from April 2014 and continued even af`ter Defendant’s Agent Non-Party, Derham’s
termination

181. In fact, Defendant’s Agents, Non-Parties, Derham and Mellor’s false allegations were
purportedly still being investigated in August 2017, causing Plaintiff to suffer official allegations
of wrongful conduct until she was wrongfully terminated on September 18, 2017.

182. Defendant’s Agents, Non-Parties, Derham and Melloi"s aforementioned conduct
detrimentally affected Plaintiff and would detrimentally affect any reasonable person in

Plaintiff s position

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183. Plaintiff made an internal report of sexual harassment sexual discrimination and a
hostile work environment to her employer, Defendant in or around January 2016 concerning the
ongoing conduct ofNon-Party, Derham.

184. Although Defendant allegedly investigated the ongoing conduct of Non-Party, Derham,
Defendant did not terminate Non-Party, Derham until in or around April 2017 - Well over a year
after Plaintiff’ s internal report

185. During the intervening time, Non-Party, Derham continued to subject Plaintiff to sexual
harassment and a hostile work environment based on Plaintiff’s sex (fernale) and Plaintiffs prior
refusals to Non-Party, Derham’s sexual advances

186. Defendant is responsible for its Agent Non-Party’s Derham’s conduct as Defendant
through its managerial agents, had knowledge of Derham’s propensity to sexually harass female
employees as well as Defendant’s failure to take action to stop the sexual harassment and hostile
work environment following Plaintiffs internal complaint

187. Plaintiff suffered significant harm as a result of Defendant subjecting Plaintiff to a hostile

work environment in violation of PFPO.

§§QU§T IX
Breach of Contract

188. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein

189. Plaintiff and Defendant entered into an employment contract in or around April 2014.
Plaintiff does not possess a copy of the employment contract Upon information and belief,
Defendant possesses a true and accurate copy of the employment contract

190. Pursuant to the employment contract Defendant was contractually required to pay
Plaintiff her commission or “brokerage splits” from all pending contracts that Plaintiff was

responsible for prior to her termination

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191. Although Plaintiff has received some commissions on pending contracts, Plaintiff

believes and therefore avers that Defendant has breached the employment contract by failing to

pay Plaintiff all commissions owed to Plaintiff pursuant to the employment contract

192. As a result of Defendant’s breach of the employment contract, Plaintiff has been

financially harmed.

193. To determine the full extent of Plaintiff’s financial damages an accounting of the

commissions earned by Plaintiff on the pending contracts is required.

V. PRAYER FoR RELIEF

194. Plaintiff incorporates the foregoing paragraphs as if set forth at length herein
WHEREFORE, Plaintiff respectfully requests this Honorable Court enter judgment in her

favor and against Defendant in an amount in excess of $75,000, plus such other and further relief

as this Honorable Court deems necessary and just including the following:

a. Statutory damages;

b. Compensatory damages, including actual damages for financial and emotional
distress;

c. Punitive damages;

d. An accounting of the commissions earned by Plaintiff on the pending contracts at

the time of Plaintiff’s Wrongful termination
e. Attorneys’ fees and expenses;
f. Pre-judgment interest and,
g. Equitable relief.

Respectfully subiriitted,

WEISBERG LAW SCHAFKOPF LAW, LLC

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREA PESACOV
313 Arch St., Unit 209
Philadelphia, PA l9l 30

Plaintiff, :
v. : No.: 18-cv-4282
CUSHMAN & WAKEFIELD OF : IURY TRIAL OF TWELVE (12)

PENNSYLVANIA, INC. : IURORS DEMANDED
One Liberty Place :

1650 Market Street 33rd Floor

Philadelphia, PA 19103

Defendant

 

CERTIFICATE OF SERVICE
I, Matthew B. Weisberg, Esquire, hereby certify that on this 24th day of October, 2018, a

true and correct copy of the foregoing Third Amended Complaint was served via e-filing upon
_./`l

the counsel for all parties __/` gi

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